 

Case 2:22-cv-04350-WBV-KWR. Document 1-1 Filed 11/01/22 Page 1 of 4
St. Tammany
Melissa R. Henry - Clerk of Co
Jasmine Johnson - Deputy Cl
Suit 2022-14143 H
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22ND JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. TAMMANY
STATE OF LOUISIANA
NO.: DIV.:
ERIC PARENTEAU
VERSUS

JEREMY JUSTUS, TOWN OF CARNEGIE, AND OKLAHOMA MUNICIPAL
ASSURANCE GROUP D/B/A OMAG

FILED:

 

 

DEPUTY CLERK

PETITION FOR DAMAGES

NOW INTO COURT, through undersigned counsel, comes Petitioner, ERIC
PARENTEAU (hereinafter referred to as “Petitioner”), an individual of the full age of majority
and domiciled in the Parish of St. Tammany, State of Louisiana, who respectfully avers as follows:

1.

Made defendants herein are:

a. JEREMY JUSTUS, a person of the full age of majority, upon information and belief,
domiciled in the City of Carter, State of Oklahoma, who may be served at their domicile
address of 205 E. Madison, Carter, OK 73627.

b. TOWN OF CARNEGIE, a municipal body located in the Town of Carnegie, State of
Oklahoma, who at all times relevant herein, was doing business in the Parish of St.
Tammany, State of Louisiana, and who can be served through Carnegie City Hall, 11 E
Main St., Carnegie, OK 73015; and

c. OKLAHOMA MUNICIPAL ASSURANCE GROUP D/B/A OMAG (hereinafter
referred to as “OMAG”), a foreign insurance company domiciled in the City of Edmond,
State of Oklahoma, authorized and licensed to do and doing business in the Parish of St.
Tammany, State of Louisiana; which may be served at its principal address of business,
3650 South Boulevard, Edmond, OK 73013.

(Jeremey Justus, Town of ‘Carnegie, and OMAG are hereinafter collectively referred to as

“Defendants”)

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a

Jurisdiction in this Honorable Court is proper pursuant to La. R.S. 13:3201 because

Defendants caused injury or damage to Petitioner in the State of Louisiana.
3.

Venue in this judicial district is proper pursuant to La. C.C.P. art. 74 because the incident
made subject of this suit occurred in the Parish of St. Tammany, State of Louisiana, and
Petitioner’s damages were incurred in the Parish of St. Tammany, State of Louisiana.

4,

This is a civil action to recover all damages sustained by Petitioner for personal injuries,
and other injuries against the above named defendants, JEREMY JUSTUS, TOWN OF
CARNAGIE, AND OMAG (sometimes hereinafter referred to collectively as "Defendants"),
each of whom are liable jointly, severally and in solido unto Petitioner in a sum of damages as is
reasonable in the premises, together with legal interest thereon from and after the date of judicial
demand, until paid and for all costs of these procéedings, for the following, to-wit:

-

On or about September 7, 2021, Petitioner, ERIC PARENTEAU, was operating his
vehicle southbound on US 190 in the Parish of St. Tammany, Louisiana. Petitioner’s vehicle was
at a Complete stop due to traffic in the left lane of US 190, when suddenly and’ without warning,
he was rear-ended by a vehicle operated by defendant, JEREMY JUSTUS, and owned by
defendant, TOWN OF CARNEGIE.

6.
As a result of this accident, Petitioner sustained severe personal injuries.
7.

The accident which occurred was caused solely by the negligence of defendant, JEREMY
JUSTUS.

8.

Upon information and belief, at the time of the accident, the defendant, OMAG, had issued
a public liability policy to the defendant, TOWN OF CARNEGIE, which insured the motor
vehicle JEREMY JUSTUS was driving. Upon information and belief, this policy was in full force
and effect at the time of the accident involved herein and provided liability coverage to the motor

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vehicle in which the defendant, JEREMY JUSTUS was driving for the acts and/or omissions
alleged herein.
9.

Petitioner alleges upon information and belief that the collision and resulting damages were
caused solely and/or proximately by the negligence of Defendants in the following, non-exhaustive
particulars:

a. Failing to exercise due care in the operation of a vehicle;

b. Failing to stop;

c. Failing to keep a proper lookout;

d. Failing to keep his vehicle under control at all times;

e. Operating his vehicle in a careless, reckless, and imprudent manner;

f. Failing to see what he should have seen;

g. Failing to exercise due care and caution for the safety of others;

h. Failing to exercise reasonable diligence;

i. In colliding with the vehicle being operated by Petitioner; and

j. Such other acts of negligence as may be shown at the trial of this matter.

Such acts being in violation of the laws of the State of Louisiana and the Ordinances of the

Parish of St. Tammany, which are specially plead as if copied in extenso.
10.

As a result of this accident, Petitioner, ERIC PARENTEAU, sustained injuries, including,
but not limited to, personal injuries to his neck, back, spine, along with other parts of his mind and
body, causing him to suffer and continue to suffer severe physical and mental pain and disability,
as well as other damages itemized herein below.

il.

Petitioner, ERIC PARENTEAU, avers that he has suffered and continues to suffer the
following damages:

a, Past and future medical expenses;

b. Past and future physical pain and suffering;

c. Past and future mental pain and anguish;

d. Physical disability;

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e. Loss of enjoyment of life; ,

f. Past and future lost wages and loss of earning capacity;

g. Diminution in value; and

h. Other damages which may be proven at trial.

12.

Petitioner further avers that the amount in controversy exceeds that which is required for a
trial by jury, and he desires a trial by jury on all issues.

WHEREFORE, Petitioner, ERIC PARENTEAU, prays that after all due proceedings
had, there be judgment in his favor and against the defendants, JEREMY JUSTUS, TOWN OF
CARNAGIE, AND OMAG,, for such damages as are reasonable in the premises, together with
legal interest thereon from the date of judicial demand until paid; for all costs of these proceedings,
for trial by jury, and for all general and equitable relief.

Respectfully Submitted

“Yi

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205 E. Madison
Carter, OK 73627

      

ANY PARISH, LA

TOWN OF CARNEGIE
Through Carnegie City Hall od: Reputy Clerk
11 E Main St. _

Carnegie, OK 73015

OKLAHOMA MUNICIPAL ASSURANCE GROUP D/B/A OMAG
At Domicile Address:

3650 South Boulevard

Edmond, OK 73013

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